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                             EXHIBIT A
Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 2 of 30


   ~c~ ; ~f S ~ w'`
     ~~
 DISTRICT COURT,CITY AND COUNTY OF
 DENVER,COLORAL70                                        EF[LED Doeument
 1437 Bannock Street                                     CO Denver County District Court 2nd J
 Denver, Colarada 80202                                  Filing Date: Jun 26 2012 8:47PM MDT
                                                         ~ilfng [b: 45033683
                                                         Review Clerk: Ma#khew Palmer
 PAUL CURRY,an individual,
 Plaintiff,

 v.

 MILLERC~[IRS,TNG,a foreign corporation,                   COURT USE ONLY
 Defendant.

 Attorneys far Plaintiff                              Case Number: 12CV
 Robert J. Corry, Jr. #32705
 Travis B. Simpson #43858
 600 Seventeenth Street
 Suite 2$QO South Tower
 Denver, Colorado 80202
 3a3-634-2244 telephone
 720-42~-9084 facsimile
 Robert.Corcy(r~comcast.net
 travisbsim san rnail.com
                                     SUMMONS

        TO THE ABOVE-NAMED DEFENDANT MILLERCOC~RS,INC. c/o The

Corporation Company, 1675 Broadway, Suite 1X00, Denver, Colorado 80202:

        You are hereby summoned and required to fife with the clerk ~fthis ~aurt an

answer ar ether response to the attached ~'omplaint. If service of this Summons and

Complaint was made upon you wi#hin the State of Colorado, you are required to file

your answer ar other response within 20 days after such service upon you. If

service of this Summons and Corrrplaint was made upon you outside the State of

Colorado,yflu are required to file your answer or other response within 30 days
s<   Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 3 of 30




      after such service upon yau. Yaur answer must be accompanied by ~ filing fee.

     If you fail to file your answer or other response to the Complaint in writing within

     the applicable time period,judgment by default may be entered against you by the

     Court for the relief demanded in the Complaint, without any further notice.

            Dated this 25t'' day of June, 2012       Respectfully submitted,

                                                     (original signature on~le)
                                                     /s/Robert J. Corry, Jr.

                                                     Robert J. Corry, Jr.
                                                     Travis B, Simpson




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         DISTRICT COURT,CITY AND COUNTY 4F
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         1437 ~allllOCIC ~h'L'8t                                    CO Denver County District Court 2nd J
         Denver,Colorado 802az                                      Filing date: Jun 26 ZQ12 8:471'M MDT
                                                                    Filing iD: 45033683
                                                                    Review Clerk: Matthew Palmer
         PAUL CURRY,an individual,
         Plaintiff,

         v.

         MILLERCOORS,iNC,a foreign corporation,                       COURT USE aNLY
         Defendant.

         Attgrneys for Plaintiff                                 Case Number: 12CV
         Robert J. Corry, Jr, #32705
         Travis B. Simpson #43858
         6fl0 Seventeenth Street
         Suite 2804 South Tawer
         Denver, ~olorad4 802t~2
         303-634-2244 telephone
         72Q-420-9084 facsimile
         Robert.Corry(a,comcast.net
         ~ravisbsim son mail.com
                                             CaMPLAINT

               Plaintiff Paul Curry, through undersigned ~aunsel, hereby submits his Complaint,
        and as grounds states as follows;

                                                PARTIES

               1.     PlaintiffPaul Curry("Mr. Curry" ar "Plaintiff') is an individual who
        resides in Denver, Colorado.

               2.     Defendant MillerCaars, LLC("Defendant")is a limited liability company
        incorporated in Delaware, with a principal street address in Chicago, Illinois, with a
        Colorado Registered Agent for Service in Denver, Ct~lorado, and which can be found in
        and served in Denver, Colorado.

                                    JURISDICTION AND VENUE

               3.      Jurisdiction is proper over the Defendant with regard to the claims asserted
        by the Plaintiff.
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      4.      Venue is proper in this Court pursuant to C.R.C.P. 98.

                                       General Allesations

       S.     MillerCoors LLC hired Paul Curry approximately seven years ago as a
maintenance mechanic. He wor~Ced there full-time until terminated in 2011. fIe had an
exemplary work record during the time he worked for MillerCoors LLC, other than the
termination complained about in this action.

       6.      Paul Curry is a 57-year-old man who suffers dram hepatitis C,
osteoarthritis, and pain and muscle spasm paused by awork-related back injury.

       7.     Mr. Curry has su~rered from chronic hepatitis C far over five years.

      8.      In 2402, Mr. Curry began to seek medical treatment for liver problems he
was experiencing. Since 2002, Mr. Curry has regularly seen physicians with regard to his
chronic hepatitis C. Mr. Curry still continues to seek treatment for hepatitis C.
MillerCoors LLC is and was aware pf Mr. Ciu~ry's disabilities.

       9.     Mr. Curry suffers from asteoarthritis. This condition has developed aver
the years with symptoms consistent with pre-rheumatoid arthritis.

       10. Since 2002, Mr. Curry has experienced worsening arthritic symptoms in his
hands and fingers. Mr. Curry's family has a history of severe rheumatoid art~►ritis.

       1 1. The symptoms of Mr. Curry's arthritis are stiffness and pain iri his hands.
At times, this pain and stiffness substantially limits Mr. Curry's ability to use his hands.
Mr. Curry continues to seek treatment for his osteoarthritis and continues to monitor the
development of rheumatoid arthritis.

      12. On March 31, 249, Mr. Curry injured his back while working far
MillerCoors, which was aware of this injury.

       13. Mr. Curry began to experience back pain so severe that it prevented him
from sleeping.

        t4. Mr. Curry continues to experience recurrent back pain as a result of this
injury, and he continues to limit his bending, twisting, and stooping. These restrictions
have substantially impacted Mr. Curry's ability to engage in any strenuous activities.

       1 S. Ivlr. Curry sees physicians regularly with regard to these conditions, end has
used various prescriptions, recommendations, and physical therapy regimens to treat the
chronic and disabling symptoms of these conditions.

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        16. The Hepatitis C, ~.rthritis, as will as the pain and muscle spasms from his
 back injury substantially limit major life activities far lVtr. Curry, and Mr. Curry has
 records describing these impairments.

        17. On February 19, 2p1~, Mr. Curry's physician recommended that ~Vir. Curry
 use medical marijuana to treat the symptoms of his medical conditions. Mr. Curry found
 that medical marijuana effectively reduced. his gain and ~ymptgms of his debilitating
 medical conditions, and he used it relatively inconsistently until February l8, 201 I.

        18. {fin January 19, 2011, MillerCaars made statements at a town hall meeting
 and distributed its drug-free workplace policy.

       19. Mi1lerCaors' drug-free workplace policy requires employees who are
 medie~l marijuana patients to disclose their confidential medical marijuana patient status
 and make this information public to MillerCoars' officials.

       20. On March 3,2011, Plaintiffwas involved in an incident resulting in
 damage to the roof at MillerCoors, LLC. Plaintiff tried tc~ prevent the incident from
 occurring and was not responsible far the damage that occurred.

       21. Plaintiff stood on a handrail to signal the crane operator why was
responsible for the damage incurred at Mi1lerCoors.

       22. Plaintiffs involvement in the incident automatically triggered an
 involuntary drug test.

        23. Plaintiff did not consent to the drug test and told the administering security
 officer that he was a medical marijuana patient.

       24. Mr. Curry's first two drug screens were invalid. Mr. Curry was required by
 MilierCoors to go to Health Services clinic to take another test.

       25. None of Mr. Curry's drug screen results specified whether the
tetrahydrocannabinoi{"THC")found in his system was active or merely residual from his
use of medical marijuana off work hours. ~n fact, Mr. Curry never used medical
marijuana at work or close to work hours.

       26. On March 7, 2011, Mr. Curry received a written warning from MillerCaors
 beeaus~ "Paul had not reported [his medical marijuana] usage to the medical center."
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        27. Also on March 7, 2011, Mr. Curry received a written warning for his usage
 of the handrail to signal the crane operator during the incident that occurred an March 3,
 2fl11.

       28. On March 10, 201 I, the Medical Review Officer returned the results from
the Health Services drug test. Thy results were a verified positive far "cannabinaids"
(THC}.

        29. MillerCoors discharged Mr. Curry on March 14, 2611 for allegedly
 violating the drug-free workplace policy and because of his debilitating medical
 conditions. Mr. Curry pursued a claim through the Colorado Division of Civil Rights,
 which mailed Mr. Curry a Native of Right to Sue on or about March 29,2a12.

                                       FIRST CLAIM

                            {Discrimination Based on Disability)

        30. C.R.S. § 24-34-441(1}(a} states that "[i]t shall be a discriminatory or unfair
 employment practice [f]or an employer to... to discharge... any person otherwise
 qualified because of disability... but, with regard to a disability, it is not a discriminatory
 or an unfair employment practice [to discharge a person] ifthere is no reasonable
 accommodation that the employer can make with regard to the disability, the disability
 actually disqualifies the person from the jab, and the disability has a significant impact on
 the job."                                                                           .

        31. MillerCoc~rs discharged Mr. Curry, who was otherwise qualified to perform
 his job, because of the trEatment that Mr. Curry was using to manage the symptoms of his
 disabling medical cQnditipns. Mr. Curry did not rewire any accommodation far this
 treatment because he only used medical marijuana off=duty and his disability, as well as
 the treatment of his disability, did not have a significant impact on his job.

        32. Under Colorado law,"disability" means "a physical impairment which
 substantially limits one ar more of a person's mayor life activities and includes a record of
 such an impairment and being regarded as having such an impairment." C.R.S. § 24-34-
 3p1 (2.5}. Mr. Curry's medical conditions qualify under this definition of disability.

       33. The Colorado Constitution, Article XVIII section 14(1)(a){II} further
defines "debilitating medical condition" as follows:"A chronic or debilitating disease or
medical condition, or treatment far such conditions, which produces, for a specific
patient, one ar more of the following, and for which,in the professional ~pinian of the
patient's physician, such condition or conditions reasonably may be alleviated by the
medical use of marijuana: cachexia; severe fain; severe nausea; seizures, including those
that are characteristic of epilepsy; ar persistent muscle spasms, including those that are
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 characteristic of multiple sclerosis;". Mr. Curry suffers from debilitating medical
 conditions under this definition.

       34. The Calorada ConsEitution, Article XVIII § 14(1}(b) provides that
"[n]othing in this section shall require any employer to accommodate the medical use of
marijuana in any work place." Here, Mr. Curry did not use medical marijuana in the
work place; all of his use was outside of the work place, which should have been
accommodated by Mi1lerCoors, but was not.

        35. Atthe time of his discharge, MillerCoors was aware of Mr. Curiy's status
 as a medical marijuana patient who suffered from a debilitating medical condition.

       36. Mr. Curry uses medical marijuana to treat his debilitating medical
conditions. By discharging Mr. Curry for using medical marijuana, MillerCoors
discharged and discriminated against Mr. Curry far treating his medicat cond~ti~ns.

        37. Therefore, Mi1~erCoors discriminatorily discharged Mr. Curry with regard
to his disability.

                                     SECOND CLAIM

    (Intrusion Upon seclusion for the Improper Appropriation of Private Infa~nation}

       38. One who intentionally intrudes, physically or otherwise, upon the solitude
or seclusion of another ar his ~~ivate affairs ar concerns, is subject to liability ~o the other
for invasion of his privacy, if the intrusion would be highly offensive to a reasonable
person.

       39. This claim focuses on the manner in which information that a person his
kept private has been pbtained. See Prosser, Privacy, 48 Cal. L.Rev. 383 (1960).

      40. MillerCoars forced Plaintiff to disclose his confidential status as a medical
marijuana patient.

       41. The Colorado Constitution, Article XVIII section 1 ~ provides that all
information provided to the Colorado Medical Marijuana Registry shall remain
confidential. This inf'orrnation includes an int~ividual's status as a medical marijuana
patient,

       42. The Colorado Canstituti~n states that "[t]he state health agency shall create
and maintain a confidential registry of patients who have appticd for and are entitled to
receive a regishy identification card" and that "[n]o person shall be permitted to gain
access to any infortnatian about patients in the state health agency's c~n~dential
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 registry... except for authorized employees of the state health agency in the course of
 their official duties and authori.~ed employees of state or local law enforcement
 agencies."

        43. C.R.5. 18-18-40b.3 that provides in section (S)that "[a]ny person ... who
 releases ar makes public... any confidential informatit~n contained in any such record that
 is provided to or by the marijuana registYy of the department without the written
 authorization ofthe marijuana registYy patient commits a class 1 misdemeanor."

        44. MillerCoors' medical marijuana disclosure policy purports to require
 MillerCoars to gain access to infbrmatian abautpatients in the state health agency's
 confidential registry.

        45. MillerCoors is not an employee ofthe state health agency, nor an
 authflrized emplaye~ of state or local law enforcement agencies.

       4b. Health records are considered confidential, and in~£ormation contained in
such retards c~nnat be released or disclosed without a patient's consent and
authorization. Doe ~v, High-Tech Inst., lnc., 972 P.~d 1060(Colo.App. 1998)See Division
ofMedial Quality v. Gherardini, 93 Cal. App.3d 664, 156 Cal.Rptr. 55,(I~7~)
(recognizing a right of privacy in one's medical records).

         47. There is ~ generally recognized privacy interest in one's own body.
 Personal information c~pncerning a person's health maybe obtained through one's blood,
 saliva, and other bodily products, such products cannot be extracted from a person ar
 initially tested without either consent or proper authorization. Doe, 972 P.2d at 1068 See
 Skfrzner v. Railway Labor Executives'Ass'n, 4$9 IJ.S. 602, 109 S.Ct. 14Q2, 103 L.Ed.2d
 b39(1989).

       4$. Invasion of privacy by intrusion does not depend upon any publicity, or
 eommunicatior► to the public generally, nor does it require a physical intrusion, l~oe v.
 High-Tech Inst., Inc,, 472 P.2d at 1058; Restatement(Second) Qf Tarts § 652B emt. a
(1977},

       49. The gist of the tort is interference with an individual's solitude, seclusion,
or private affairs and concerns. Id. emt. b. The intrusion into the plaintiffs privacy
requires intentional rather than merely reckless conduct. Fire Ins. Exch. v. Sullivan, 224
P.3d 348(Colo.App. 2009}, cent, denied(ZOI O}.

        50. MillerCoors int~ntiorially interfered with Plaintiffs private affairs and
 concerns when it required him to disease his private and confidential medical
 information.
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        51. MillerCoors did nat request that Plaintiff consent to waive his right to keep
 his medical marijuana status confidential.

        52. MillerCoars issued Plaintiff a written warning for not reporting his
 confidential medical marijuana status to the Mil~erCoors Medical Center.

        5~. Furthermore, Plaintiff never consented to the first two mouth swab tests
 that were administered on March 3, 211,

        54. The security t~fficer who administered the mouth swab states in his incident
 report that "I ~dvis~d Subject Curry the first test would be ~n i Screen oral fluid drug
 screen test, which seemed to upset Subject Curry very much. He was very defensive,
 sarcastic, and excited about the test."

       55, The Security officer's incident report thoroughly details all ofthe events
 preceding, during, and after Mr. hurry's drug test, the officer fails to state that Mr. Curry
 was asked for or gave consent for MillerCoors to collect saliva samples from his mouth.

        56. MillerCoors intenfiianally interfered with Mr. Curry's privacy when it took
 saliva samples from him without his consent.

        57. MillerCoars also intentionally interfered with Mr. Curry's privacy when it
 required Mr. Cr.u~ry to disclose his confidential medical marijuana patient status.

                                      THIRD CLAIM

   (Discriminatory or Unfair Employment Practice pursuant to C.R.S. § 24-34-402.5(1}}

         58. C.R.S. § 24-34-402.5{1) states that "[i]t shall be a discriminatory or unf~.ir
 employment practice for an employer to terminate the employment of any employee due
 to that employee's engaging in any lawful activity off the premises of the employer
 during nonworking hours unless such a restriction... relates to a bona fide occupational
 requirement or is reasonably and rationally related to the employment activities and
 responsibilities of a particular employes or a particular grpup of employees, rather than to
 atl employees of the employer."(emphasis added)"Any" means "all." Kauntz v. HCA-
 Kealthone, LLC, 174 P.3d 813, S 17(Colo. ~1pp. 2007}; Gwin v. Chesrown Chevrolet, 931
 P.2d 466(Cola.App. 1996)(affirming jury award under CRS § 24-34-402.5 far claim
 that defendant car dealership invaded employee's privacy rights by terminating him
 because of lawful activity he engaged in on his'own time away from dealership)

       59. The Cfllorado Constitution creates an exception to ~olprado's criminal
 marijuana laws, not just prosecution for viglation of those laws. Colo. Consti. Art. 1$
 14(2}(b) states that "[e]ffective Tune 1, 1999, it shall be an exceptionfrom the state's

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 criminal laws for any patient... in lawful possession of a registry identification card to
 engage or assist in the medical use of marijuana."(emphasis added}. See also, C.R.S. §
 18-18-406. (referring to "exception" for medical marijuana patients.} Therefore,
 Colorado's criminal laws, with regard to marijuana, da nat apply tv a registered medical
 marijuana patient, thereby making the conduct legal.

        60. "Legalize" means "[t]a make lawful; to authorize or justify by legal
 sanction,"&einor, DD No.l 094$-2010(ZO 11)quoting Black's Law Diclianary X77 {nth
 ed. 20Q9}; accord Webster's Third New International Dictionary 1290 {2Q02)(defining
 "legalize" to mean "to make legal: give legal validity or sanction to"}. Accordingly, the
 medical marijuana amendment was intended not merely to create a defense to a charge of
 marijuana possession ar use, bu# rather to make medical marijuana possession and use
 legal under the conditions identified in the amendment. id.

       f 1. Plaintiffnever acquired, possessed, produced, used, ar transported
 marijuana while working for Mi1lerCnors.

        62.   Plaintiffmerely had residual non-active THE in his bloodstream.

        63. This residual non-active THC had no Effect on Mr. Curry's attention,
 learning, orjob performance. Furthermore, Mr. Curry was never impaired by medical
 marijuana at any time during working hours while working far MillerCoors.

       64. The medical use of marijuana is legal under Colorado State law. Under
 Colorado law, a person in possession of a medical marijuana registry card is immune
 from the state's criminal laws wi#h regard to marijuana.

        65. Plaintiff was in possession of a medical marijuana registry card ~t the time
 of his discharge. Therefore, under Colorado law, Plaintiff's use of marijuana was legal.

       66. MillerCoors discharged Plaintiff for engaging in this legal activity during
 non-working hours.

        67. MillerCoors' restriction was not related to a bona fide occupational
 quaiificatian nor reasonably and rationally related tc~ the employment activities of Mr.
 Curry.

                                 FQURTH CLAIM
  {D~seriminatory ar Unfair Employment Pr~.ctice pursu~.nt to C.R.S. § 24-34-401(1)(d)}

       68. C.R.S. § 24 34-401(1)(d) states that "[i]t shall be a discriminatory orunf~ir
 employment practice ~~ar any employer... to print or circulate... any statement,
 advertisement, ar publication... or to make any inquiry in connection with... membership
Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 12 of 30




 that expresses, either directly oar indirectly, any,., specification.., as to disability... pr
 intent to make any such... specification... unless based upon a bona fide occupational
 qualification."

        69. Mi1lerCaors' drug-free workplace policy makes an inquiry in connection
 with membership tkat expresses a specification as to disability, specifically membership
 as a medical marijuana patient.

        70.    Medical marijuana patients, who incidentally inay or may not follow their
 physicians' recommendation to use medical marijuana to treat debilitating medical
 conditions, are specified and required to perform actions that other employees are oat
 required to perform.

        71.   There is na bona fide occupational qualification requiring medical
 marijuana,patients to disclose their patient status.

        72. In order for the Colorado Department ofPublic ~-iealth and Environment to
 issue a medical marijuana registry card to an applicant, the applicant must have a
 debilitating medical condition.

        73.     Plaintiff is a registered medical marijuana patient. Therefore, plaintiff has a
 debilitating medical condition,

        74.    Mi1lerCoors discriminated against Plaintiff by making an inquiry in
 connection with Plaintiff's membership as a medical marijuana patient that necessarily
 implicates Plaintiffs debilitating medical conditions.

                     PRAYER FUR RELIEF AND JURY DEMANI}

         Wherefore, Plaintiff requests the Court allow Ptaintiffls claims tv be tried to a jury
 and to enter judgment in favor of Plaintiff, and against the Defendant, in an amount
 reasonably calculated to compensate Plaintiff for the Lass of past and future earnings, for
 damages incurred and sustained by Plaintiff, for declaratory, punitive, and exemplary
 damages,for the interest allowed by law, far the costs and attorney fees of this action,
 and ft~r ai! other just and proper relief.

        Dated this 25t~ day of June, 2012            .Respectfully submitted,

                                                     (original signature onfile)
                                                     /s/Robert J. Cody, Jr.

                                                     Robert J. Corry, Jr.
                                                     Travis B. Simpson
Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 13 of 30



  Denver District Court
  Denver County, Colorado
  Court Address: 1437 Bannock St., Rm.256,Denver, CO 80202


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  CURRY,PAUL                                                              CO Denver County District Court 2nd JT)
                                                                          Filing Date: Jun 27 2012 12:12P1~4 i~IDT
  Plaintiffs)                                                          ~F>>~►~ ~           ~ O        Y ~
  v.
                                                                    Case Number: 12CV3960
  MILLERCOORS INC
                                                                    Courtroom: 424
  Defendants)

                                     DELAY REDUCTION ORDER


  All civil courtrooms are on a delay reduction docket. To determine if your case is within the Colorado Civil
  Access Pilot Project("CAPP") for Business Actions, refer to Appendix A of Chief Justice Directive 11-02,
  available at http://www.courts.state.co.us/Courts/Civil Rules.cfm. All civil cases not within the CAPP for
  Business Actions are governed by Part I of this Delay Reduction Order. All civil cases that are within the
  CAPP for Business Actions are governed by Part II of this Delay Reduction Order.

                                                      PARTI

      A. For all civil actions that are not within the CAPP for Business Actions the following deadlines
             must be met:

                  Service of Process: Returns of Service on all defendants- shall be filed within 56 days
                  after the date of the filing of the complaint.

          2.      Default Judgment: Application for default judgment shall be filed within 28 days after
                  default has occurred.

          3,      Trial Setting: Plaintiff shall serve a Notice to Set the case for trial and shall complete the
                  setting of the trial within 28 days from the date the case becomes at issue. A case shall
                  be deemed "at issue" when all parties have been served and have filed all pleadings
                  permitted by C.R.C.P. 7, or defaults or dismissals have been entered against all non-
                  appearing parties, or at such other time as the court shall direct.

      B. The court will consider extending these time periods upon timely filing of a motion showing good
         cause.

                                                    PART II

      A. Cases that come within the CAPP for Business Actions are governed by the Pilot Project Rules
        ("PPR"), available at: http://www.courts.state.co.us/Courts/Civil Rules.cfm. A timetable is
         available on this same website for your reference.

      B. General Overview of the Pilot Project Rules

          1. The rules shall be construed and administered to secure the just, timely, efficient, and cost-
             effective determination of this action.

          2. This action shall be addressed in ways designed to assure that the process and the costs are
             proportionate to the needs of the case

          3. The intent of the rules is to utilize pleadings to identify and narrow the disputed issues at the
             earliest stages of litigation and thereby focus discovery. Adherence to the rules, with their
             emphasis on early complete disclosures and frequent case management conferences,
             should continually inform the parties and the Court of the issues, claims, and defenses in the
             ease, and obviate the need for ongoing amendments of the pleadings.
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            4. The material facts pleaded should provide the "who, what, when, where, and how" of each
               element of a claim or defense. This pleading standard applies equally to a~rmative
               defenses.

                It is the purpose of the rules to replace the broad discovery currently allowed with
                proportionate discovery. All facts are not necessarily subject to discovery. The
                proportionality factors as stated in the rules will thus shape the process for the case.

        C. Deadlines that must be met by Plaintiffs) are:

            1, Service of Process: Returns of Service on all defendants shall be filed within 35 days after
               the date of filing of the complaint.

            2. Initial Disclosures: Plaintiffs) shall file PPR 3.1 initial disclosures concerning the claims) for
               relief with the Court no later than 21 days after service of the complaint.

            3. Default Judgment: Application for default judgment shall be filed within 35 days after default
               has occurred.

            4. Initial Case Management Conference: Plaintiffs) shall serve a Notice to Set the initial case
               management conference within 7 days after the last answer is filed. This conference shall be
               held within 49 days after the last answer is filed (see PPR 7.1).

            5. Trial Setting: The trial shall be set at the Initial Case Management Conference.

                                                     PART III

  The following provisions apply to all civil cases— those within and those not within the CAPP for Business
  Actions:

        A. IF AN ATTORNEY OR PRO SE PARTY FAILS TO COMPLY WITH THIS ORDER, THE COURT
           MAY DISMISS THE CASE WITHOUT PREJUDICE. THIS ORDER SHALL BE THE INITIAL
           NOTICE REQUIRED BY RULE 121, SECTION 1-10, AND RULE 41(8)(2).

        B. Setting times for civil divisions in Denver District Court are Tuesday, Wednesday, and Thursday,
           from 10:00 am —12:00 pm.

        C. Plaintiff shall send a copy of this order to all other parties who enter an appearance.

        D. Any attorney entering an appearance in this case who is aware of a related case is ordered to
           complete and file in this case an Information Regarding Related Cases) form available at
           http://www.courts.state.co.us/Courts/District/Index.cfm?District ID=2 or in Room 256 of the City
           and County Building.

  Date:     June 27, 2012                                             BY THE COURT:

                                                                      /s/Kenneth M. Laff
                                                                      District Court Judge
                                                                      Denver District Court

  cc:       Plaintiffs) or Plaintiffs) Counsel




                                                        -2-
Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 15 of 30
                                 ,.
                                 1
                                                                                       service off' Process
                                                                                       Tr~tnsnri~~al
                                                                                       n$l2g/2012
                                                                                       CT Log Number 521124110
    TO:        Marcia Yt~Ung
               MillerCoars LLG
               2~0 5. Wacker Drive, Suite 8nQ
               Chicago, IL 5066

    ~t1~:      Process served In ~olarad~
    Ft~~t:     MillerGoors I~I.0 (17omestic State: ~E}




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    £?tCL~RL'

    TITLE OF A~'TION:                      Paul Curry 2LG.y P~if. VS. M1l~el~0ot'Sr ~I1C.' 8~t.~ DEC.
                                           ~Ctri'yG+ C~tSC~'G'~'JfXlYC~ f1U~ECf.

    DpCUMENT(Sj SERVED:                    $UCS1~T101]S. Cnmpt~int

    ~OLtRTfA~~NGY:                         Denver County District Court, C~
                                           Case ~ None Specified
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    ~turtasn~er~o~ ~ERU~n:                 Colorado
    a~P~       ~c~ owe nMSw~~e Qua;        Within ~D days after service
    A?TORNEt'(S)1 $E'NDER{S~.              Robert .t, Corry, .1r.
                                          600 Seventeenth Street
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                                          SQUth Tower
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                                          303-534-2244
    ACTION tTERi9:                         CT has retained the cut~~nt log, Retain pate; OSl2912~12,, Expected Purge pate:
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                                          Emai( Natificat~on, Marcia Young marcia.young~smitlercoors.com
                                          Ema~! Notification, Judy Chicantek Judy.chicantek~+milkercoors.com
    storaEn:                              TFs~ Corporation Company
    yes:                                  Joyce Romero
    ADDRESS:                              1b75 Broadway
                                          Suite 1200
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    TEI~~PHONEe                           ~C~~-G~~I-~~JW




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Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 16 of 30




    DISTRICT COURT, CITY AND COUNTY OF DENVER,
    STATE OF COLORADO
    1437 Bannock Street                                             ~ rIL~D Uocumenk
    Denver, CD 80202                                                '0 Aenver County Distriot Cnart 2nd ,
                                                                    fling Datc; Aug 27 2012 03:1QPl~I A4D
                                                                    fling ID; 46120$03
                                                                     c~~iew Clerlr. Kathleen J iCeliep
    Plaintiff(s); PAUL CLURRY,
                                                                              COUILTUSEONLY
    Dafendant(s); MILLERCOORS,INC,

                                                                      CASE NO; 12CV3960

                                                                      COURTROOM; 424


                                    ORDER TO SHOW CAUSE



       This matter is before the Court sua spante,

        The Plaintiff is hereby orde~•ed to show cause in writing, within thirty-five (35) days of the
   date of this Orde~~, as to why this case should not be dismissed without prejudice for failure to
   comply with the Court's Delay Reduction Order, i,e,, failure to set this case for trial and/or for
   failure to prosecute this case (failure to serve Defendant), See C.R,C,P, 41(b)(2); C.R,C,P. 121,
   § 1-10. If Plaintiff fails to comply with this Order, the Court will dismiss this case without
   prejudice and without further notice,

       Dated this 27th day of August, 2012.


                                                        BY THE COURT;




                                                        Kenneth M.Laff
                                                        Denver District Judge
Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 17 of 30




        DI5T[~.ICT COURT,CITY AND COUNTY OF
        DENVER,COIORADO
        1437 Bannock Street
        Denver, Colorado 80202

        PAUL CURRY,~n individual,
        Plaintiff,

        v.


        ROCKY MOUNTAIN BOTTLING COMPANY,a                                      ❑ COURT USE ONLY ❑
        corporation, MILLERCOORS,INC,a corporation,
        Defendants.
                                                        Case Number: 12CV3960
        Attorneys for Plaintiffs:
        Robert J. Corry, Jr, #32705                     Courtroom: 424
        Travis B. Simpson #43858
        600 Seventeenth Street
        Suite 2800 South Tower
        Denver, Colorado 80202
        303-634-2244 telephone
        720-420-9084 facsimile
        Robert.Corrv~~comcast.net
        Travis rt.RobCor .com
                                RESPONSE TO ORDER TO SI30W CAUSE

              Plaintiff Paul Curry, through undersigned counsel, hereby respectfully requests that the

       Court not dismiss the above-captioned case, and as grounds states as follows;

                                                             1.

              Plaintifffiled the Complaint and Summons in the above-captioned case with the Court on

       June 26,2012,



              On July 3, 2012,Plaintiff's counsel provided a copy of the Verified Complaint and

       Summons to another client whom Plaintiff's counsel represents pro bono, This client had

      represented to Plaintiff's counsel that he would serve the Defendants in the above-captioned case




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Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 18 of 30




       with the Complaint and Summons within fifty-six (56) days from Tune 26,2012 as set forth in

      the Court's Delay Reduction Order.

                                                                 3,

              The pro Bono client that was supposed to have served Defendants with the Complaint and

      Summons has since oiled to appear for severll court appearances and Plaintiff counsel has not




                                                                                                s
       been able to reach this client,

                                                                 4,

               Upon receiving the Court's Order to Show Cause and realizing that Defendants had not

      been served with the Complaint and Summons,Plaintiff's counsel immediately served

      Defendants with the Complaint and Summons.(Please see the attached Return of Service).

                                                                 S.

              Service upon Defendants was not so late as to cause Defendants any prejudice.

      Furthermore, the Court's Order specifies that the Court would dismiss this case without

       prejudice, thereby giving Plaintiff the opportunity to re-file his Complaint against Defendants.

      Plaintiff intends to re-file his Complaint if this case is dismissed without prejudice, and this re-

      filing would expend more judicial resources than if the Court allowed the above-captioned case

      to proceed.

                                                  PRAYER FOR RELIEF


              Wherefore, Plaintiff respectfully requests the Court not dismiss the above-captioned case,

      and fox all other just and proper relief,


      Dated this 28`h day of August, 2012                         Respectfully submitted,

                                                                  /s/Travis B. Simpson
                                                                  Travis B. Simpson




                                                   XXX 000950 00000000 004 007 00166 INS: 0 0
Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 19 of 30




                                     CERTIFICATE OF SERVICE

             Above designated cotulsel certifies that on August 28, 2012 a h•ue copy of the above
      RESPONSE TO ORDER TO SHOW CAUSE, with attachments, was served on all parties by
      delivery through the Lexis Nexis File &Serve system:



                                                  By:        /s/Travis 1~. Simpson
                                                             Travis B, Simpson
                                                             (Original Signature on Pile)




      Pursuant to C.R.C.P, § 121 I-26(9), a printed copy of this document with original signatures is
      being maintained by the filing party and will ba made available, upon request, for inspection by
      other parties or the Court,




                                               XXX 000951 00000000 005 007 00166 INS:00
   Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 20 of 30




RETURN OF SERVICE




Form G8971 v,0.11




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     Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 21 of 30




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Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 22 of 30




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   Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 23 of 30


                Simpson, Travis B - CO#43858
                Corry, Robert J Jr
                600 17th St Ste 2800
                Denver, CO 80202


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                      00132x4 x149&6:1     XXX 0009x7 00000000 001 007 00166 INS:00
                      MILLERCOORS INC
                      1675 Broadway Suite 1200
                      Denver, CO 80202




 To:                        MILLERCOORS INC
 From:                      Simpson, Travis B - CO#43858
 Subject:                   Service of Documents in CURRY, PAUL vs. MILLERCOORS INC

 You are being served documents that have been electronically submitted in CURRY, PAt7L vs. MILLERCOORS INC
 through LexisNexis File &Serve. The details for phis transaction are listed below.

Court:                      CO Aenver County District Court 2nd JD
Case Name:                  CURRY, PAUL vs. MILLERCOORS INC
Case Number:                2012CV3960
Transaction ID:             46138813
Document Title(s):
RESPONSE TO ORDER TO SHOW CAUSE (3 pages)
RETURN OF SERVICE (1 page)
Authorized Date/Time:       Aug 28 2012 12:16PM MDT
Authorizer:                 Travis B Simpson
Authorizers Organizations Corry, Robert J Jr
Sending Parties:
        CURRY, PAUL
Served Parties:
        MILLERCOORS INC




                                                                                                                                   J




Form G8971 v.0.t1




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   Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 24 of 30




 RESPONSE TO ORDER TO




Form G8971 v.0.11




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Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 25 of 30
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                                                                                   CT Log Number 521160001
       TO:         Marcia Young
                   MillerGoars LLC
                   Z50 S. Wacker Drive, Suite 800
                   Chicago, IL 6606

       RE;         Process Served in Colorado
       FOR:        MiCterCoors LLC (Domestic State: QE)




       ENCLOSED ARE COPIES OF LEGIi,L PROCESS KECEIVED BY TEFE STATUTORY ACsENT OF THE ABQVE COMPANY AS FpLL01NS:

       ~"~'~'~~' ~~ ~~~"~~►~:                Pau[ Curry, etc., Pltf. vs. Rocky Mountain Battling Company, etc., and MilterCoors,
                                             Inc., arc., Dfts.
                                             Name discrepancy noted.
       DOCIJMENT(S)SERVED:                   Attachrnent(s), Response, Gert9ficate of Service, Return{s)
       COURT/AGENCY:                        Denver County District Gaurt, CO
                                            Case # 12CV396Q
       w►~'~~~ ~~ ~►~~"~~~:                 Emptoy~e Litigation - Discrimination - Response to Order to Shaw Cause
       oN wHa~ ~ROa~ss wns s~RVeo:          The Corporation Company, Denver, CO
       nAr~ ANn wauR o~ seerr~ae:           By Regular Mail on 09/D4/2012 postmarked on 08/29/2012
       dUItEBDiCTt4li SERVEA ;              Colorado
       APP~ARANC~ OR ANSWER DUE:            Norse 5pec~fied
       ATTORN~If{Sj!SHNDER{S):              TI'3y~S ~. Simpson
                                            500 Seventeenth Street
                                            Suite 2800
                                            South Tower
                                            Denver, CO 80202
                                            303-634-2244
       ACTION ITEMS:                        CT has retained the current ing, Retain pate: 09104/2012, Expected Purge Qafie:
                                            09/09/2012
                                            Image SOP
                                            Emait Not9f~cation, Marcia Young marcia.young@m9(lercoors.com
                                            Email Notification, Judy Chicantefc Judy,chfcantekCmitlercoors.com
       stt~~tEn.                            The Corporation Company
       ~'~~~                                Joyce Romero
       ADDRESS:                             1675 Broadway
                                            Suite 1200
                                            Denver, CO 817202
       r~~ePr~or~~:                         3tl3-629-25tH




                                                                                  Page 1 of 2 / RM
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Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 26 of 30
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                                                                                 'Trainsmittal
                                                                                 09lQ4/2012
                                                                                 CT Log Number 52716W01



         'r0:    Marcia Young
                 MillerCoars LLC
                 250 S, Wacker Drive, Suite 800
                 Chicago, IL 6~b06

         RE:     Process Sewv~,d in Cc~Inr~do
         FbFt:   MillerCoors LLC (Domestic State: DE)




         DOCKET N18TORY:

                 DOCUMENTS)SEBVEDe        DATE AND HOUR OF S6RYIGE:              TO.                                  CT LOG NUMBER.

                 Summons, Complaint       By 1~rocess Server on 08/28/2012 at    Marcia Ybung                         52112411n
                                          12:40                                  MltlerCoars LLC




                                                                                Page 2 of 2 / RM
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                                                                                answer date, or any information contained fn the documents
                                                                                themselves. Recipient !s responslbte for lnterpretlng said
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       Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 27 of 30


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          -.~    APPROVED            ~Vlovant shall serve copies of this ORDER on
~           o                        any pro se parties, pursuant to CRCP 5, and     ~~                     ~j~'•      /~~
                                     file a certificate of service with the Court
**:s~s~~
                                     within 10 days.
           DISTRICT COURT,CIT
           DENVER COLORADO                                                           District Court Judge
                                                                                     DATE OF ORDER INDICATED ON ATTACHME
           1437 Bannock Street                                                      ~FIL~D Document
                                                                                    CO Denver County District Court 2nd
           Denver, Colorado 80202                                                   Fit~n~ Hate: Sep 0~ 20121o:zOr~m n~~T'
                                                                                    r;~~nr m:462340.53
           PAUL CURRY,an individuals                                                Review Clertt: Kathleen J Kelley
           Plaintiff,

           v.


           ROCKY MOUNTAIN BOTTLING COMPANY,a                                        ❑ COURT USE ONLY ❑
           corporation, MILLERCOORS,INC,a corporation,
           Defendants.
                                                           Case Number; 12CV3960
           Attorneys for Plaintiffs:
           Robert J. Corry, Jr. #32705                     Courtroom: 424
           Travis B. Simpson #43858
           600 Seventeenth Street
           Suite 2800 South Tower
           Denver, Colorado 80202
           303-634-2244 telephone
           720-420-9084 facsimile
           Robert.Corrvncomcast.net
           Travis RobCon~ .com
                                   RESPONSE TO ORDER TO SHOW CAUSE

                 Plaintiff Paul Curry, through undersigned counsel, hereby respectfully requests that the

          Court not dismiss the above-captioned case, and as grounds states as follows;

                                                                 1.

                 Plaintiff filed the Complaint and Summons in the above-captioned case with the Court on

          June 26, 2012.

                                                                 2.

                 On July 3, 2012, Plaintiff's counsel provided a copy of the Verified Complaint and

         Summons to another client whom Plaintiffs counsel represents pro Bono. This client had

         represented to Plaintiffs counsel that he would serve the Defendants in the above-captioned case
Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 28 of 30




  with the Complaint and Summons within fifty-six (56) days from June 26, 2012 as set forth in

  the Court's Delay Reduction Order.

                                                        3.

         The pro bono client that was supposed to have served Defendants with the Complaint and

  Summons has since failed to appear for several court appearances and Plaintiff counsel has not




                                                                                     s
  been able to reach this client.



          Upon receiving the Court's Order to Show Cause and realizing that Defendants had not

  been served with the Complaint and Summons, Plaintiff's counsel immediately served

  Defendants with the Complaint and Summons.(Please see the attached Return of Service).



          Service upon Defendants was not so late as to cause Defendants any prejudice.

  Furthermore, the Court's Order specifies that the Court would dismiss this case without

  prejudice, thereby giving Plaintiffthe opportunity to re-file his Complaint against Defendants.

  Plaintiff intends to re-file his Complaint if this case is dismissed without prejudice, and this re-

  filing would expend more judicial resources than ifthe Court allowed the above-captioned case

  to proceed.

                                              PRAYER FOR RELIEF


          Wherefore, Plaintiff respectfully requests the Court not dismiss the above-captioned case,

  and for all other just and proper relief.


  Dated this 28`h day of August, 2012                    Respectfully submitted,

                                                         /s/ Travis B. Simpson
                                                         Travis B. Simpson
Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 29 of 30




                                 CERTIFICATE OF SERVICE

         Above designated counsel certifies that on August 28, 2012 a true copy ofthe above
  RESPONSE TO ORDER TO SHOW CAUSE, with attachments, was served on all parties by
  delivery through the Lexis Nexis File &Serve system:



                                              By:    /s/Travis B. Simpson
                                                     Travis B. Simpson
                                                     (Original Signature on File)




  Pursuant to C.R.C.P. § 121 1-26(9), a printed copy of this document with original signatures is
  being maintained by the filing party and will be made available, upon request, for inspection by
  other parties or the Court.
Case No. 1:12-cv-02471-JLK Document 1-1 filed 09/17/12 USDC Colorado pg 30 of 30
